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ECONOMIC AND FINANCIAL CONSULTING

GROUP, INC.
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6 RICHLAND HILLS COVE * CONWAY, AR 72034 « (501) 450-1306

November 13, 2017

Mr. Daniel Peel
Attorney at Law

119 S. Main, Suite 500
Memphis, TN 38103

RE: Estate of Adriana Hall
Dear Mr. Peel:

At your request, I have calculated the net cash value of the life of Adriana Hall (“Hall”) in
connection with the wrongful death lawsuit resulting from her death on April 14, 2016. In a
calculation of this type, a primary objective is to arrive at the present value of the stream of
income, net of personal consumption/maintenance expenditures, that Hall could have generated
in the absence of her death. According to my calculations, this economic loss is in the range
$608,478.63 to $1,104,839.76. Below, I will discuss my computations in detail and total loss is
summarized in the attached tables.

Net Cash Value of Life

Had she remained alive, Hall could have been expected to generate income flows over her
productive work life. In assigning a value to these income flows, a distinction should be made
between past and projected future magnitudes. Past earnings are not discounted; however future
earings should be discounted and converted into present value terms. Past eamings are not
calculated in the present instance. The present value of projected future earnings, which is
equivalent to earning capacity, is calculated for two scenarios based on alternative levels of
educational attainment. Scenario (1) is based on the average earnings of females with some
college. Scenario (2) is based on the average earnings of female college graduates. I have
considered an additional scenario, Scenario (3), based on the average earnings across all
Occupations in the United States based on the United States Department of Labor publication:

 

 
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Occupational Employment Statistics, May 2016. This scenario is based on the guideline
established by Mississippi Supreme Court in Greyhound v. Sutton, 765 Sd 1269, 1277. The
present value of future income for these scenarios is calculated by projecting base income over
work life expectancy in accordance with the equation below:

T
Value of Future Income = & (Base Income){1-Personal Consumption Percentage)/(1 + r)'
t=]

where T = work life expectancy, which is alternatively assumed to be 32.56 or 44.00
additional years at age 23 for Scenario (1); 33.99 or 43.00 additional years at age
24 for Scenario (2); or 32.56 or 44.00 additional years at age 23 for Scenario (3).
The lower end of these ranges is based on statistical work life expectancies based
on Gary R. Skoog, James E. Ciecka, and Kurt V. Krueger: “The Markov Process
Model of Labor Force Activity: Extended Tables of Central Tendency, Shape,
Percentile Points, and Bootstrap Standard Errors”, Journal of Forensic
Economics, 22 (2), 2011, attached as Exhibit (1). The upper end of the ranges is
based on an assumed retirement at age 67.

Base Income (Scenario 1) = $0.00 for year 1 (age 22); $24,046.00 per year for years 2-3
(ages 23-24); $35,969.00 per year for years 4-13 (ages 25-34); $44,077.00 per
year for years 14-23 (ages 35-44); $48,201.00 per year for years 24-33 (ages 45-
34); $52,944.00 per year for years 34-43 (ages 55-64); and $53,272.00 per year
thereafter, based on the United States Census Bureau publication: Current
Population Survey, 2016 Annual Social and Economic Supplement, table PINC-
04, attached as Exhibit (2).

Base Income (Scenario 2) = $0.00 for years 1-2 (ages 22-23); $36,482.00 per year for
year 3 (age 24); $53,081.00 per year for years 4-13 (ages 25-34); $68,348.00 per
year for years 14-23 (ages 35-44); $70,957.00 per year for years 24-33 (ages 45-
54); $73,971.00 per year for years 34-43 (ages 55-64); and $60,901.00 per year
thereafter, based on the United States Census Bureau publication: Current
Population Survey, 2016 Annual Social and Economic Supplement, table PINC-
04, attached as Exhibit (2).

Base Income (Scenario 3) = $0.00 for year 1 (age 22) and $49,630.00 per year thereafter,
based on the above-cited United States Bureau of Labor Statistics publication,
attached as Exhibit (3).

Personal Consumption/Maintenance Percentage = 30.0% based on the guideline
established in Greyhound v. Sutton, cited above. This percentage is approximately
equal to the average consumption percentage of single females, married females,
and married females with two children across the scenarios identified above.

 
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r = discount factor used to convert future magnitudes into present value terms. For
computational purposes I have assumed r to be equal to 2.5% to reflect the real
rate of return (interest minus inflation) on inflation indexed government bonds.
These bonds would be a financial instrument almost perfectly suited to protecting
against the effects of future inflation.

Performing the calculation indicated by equation (2), based on the assumptions above, yields a
projected future value of projected income in the range $608,478.64 to $1,104,839.76. My
computations are presented on a year-by-year basis in the attached Tables (1) — (3), which are
based on Scenarios (1) - (3), respectively.

My curriculum vitae, case list, and fee schedule are attached as Exhibits (4), (5), and (6),
respectively.

My computations of economic loss are summarized in the attached Table (4). If you have any
questions or if I can be of further assistance in this matter, please do not hesitate to contact me.

Yours very truly,
| yelp! b. Salk Se.

RALPH D. SCOTT, JR., Ph.D.

 
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TABLE 1
ESTATE OF ADRIANA HALL
CALCULATION OF HUMAN CAPITAL / EARNING CAPACITY
SCENARIO 4
Present Cumulative
Base Year Projected Personal Lost Value Economic Economic
Year Age lncome Erection income Lonsumption Income Fector Loss Loss
FUTURE:
2017/18 22 = 6§ - 0.0000 § - § ~ § : OS76 8 6§ - § -
2018/19 23 24,046.00 1.0000 24,046.00 7,213.80 16,832.20 0.9518 16,021.13 16,021,13
2019/20 a 24,048.00 1.0000 24,046.00 7,213.80 16,832.20 0.9206 16,630.37 31,661,60
2021/22 a& 35,863.00 4.0000 35,969.00 10,790.70 25,476.20 0.8060 22,810.30 84,461.80
2022/23 26 36,969.00 1.0000 36,569.00 10,790.70 25,178.30 0.8839 22,283.95 78,715.78
M24 27 35,969.00 1,0000 35,969.00 10,790.76 25,178.30 0.8823 24,741.17 28,426.92
2024/25 28 36,369.00 1.0000 35,969.00 10,790.70 25,478.30 0.8413 21,181.63 118,608.64
2028/26 2a 38,969.00 1.0000 35,989.00 10,750.70 25,178.30 0.8207 20,865.00 140,273.65
2026/27 0 35,969.00 1.9000 36,969.00 10,790.70 25,176.30 0.8007 20,160.98 160,434.63
2027/28 u 35,968.00 1.0000 38,059.00 10,790.70 26,178.30 0.7612 18,669.25 180,103,77
2028/29 32 38,968.00 1.0000 38,989.00 10,780.70 25,178.30 0.7621 10,189.61 199,293.28
2029/30 KB 35,869.00 1.0000 35,989.00 10,790.70 25,176.30 0.7436 18,721.47 218,014.76
2030/31 «4 38,669.00 1.0000 35,969,00 10,780.70 26,178.30 0.7284 18,264.86 236,279.61
2031/32 x 44,077.00 1.0000 44,077.00 13,223,10 30,863.90 0.7077 21,636.14 248,116.78
2032/33 3 44,077.00 1.0000 44,077.00 13,223.10 30,853.30 0.6805 21,303.86 278,418.31
2033/34 7 44,077.00 = 1.0000 44,077.00 13,223.10 30,853.50 0.6736 20,783.96 300,203.27
20S x 44,077.00 1.0000 44,077.00 13,223.10 30,853,90 0.6572 20,277.03 320,480,320
2038/38 33 44,077.00 1.0000 44,077.00 13,223.10 30,883.90 0.8412 19,782,47 340,262.78
2036/37 a 44,877.00 1.0000 44,977.00 13,223.40 30,883.90 0.6265 19,293.97 358,662.73
2037/38 a1 44,077.00 1.0000 44,077.00 13,223.10 30,663.90 0.8103 18,829.24 378,391.97
2038/39 a 44,077.00 1.0000 44,077.00 13,223.10 30,863.90 0.6954 18,369.99 396,761.96
2039/40 43 44,077.00. 4.0000 44,077.00 13,223.10 10,883.90 0.5809 17,821.94 414,683.90
2040/41 “4 44,077.00 1.0000 44,077,00 13,223.10 30,863.50 0.6667 17,484.82 432,188.72
2061/42 “4 46,201.00 1.0000 48,201.00 14,460.30 33,740.70 0.6529 18,684.40 460,023.12
2042/43 46 48,201.00 4.0000 48,201.00 14,480.30 33,740.70 0.6384 18,199.42 460,022.64
2043/44 a7 48,201.00 4.0000 48,201.00 14,480.30 33,740.70 = 0.6282 47,756.83 406,776.07
2044/45 48 48,201.00 1.0000 48,201.00 14,480.30 33,740.70 C5134 17,322.47 604,100.53
2045/46 43 48,201.00 14,0000 48,201.00 14,460.30 33,740.70 9.5009 16,899.87 521,000.50
2046/47 50 48,201.00 1.0000 48,201.00 14,468.30 33,740.70 0.4887 16,487.77 837,486.27
2067/48 61 48,201,000 1.0000 48,201.00 14,460,30 33,740.70 0.4767 16,085.63 853,573.91
2048/45 §2 48,201.00 1.0000 48,201.00 14,460.30 33,740.70 0.4551 18,693.30 569,267.20
2045/60 83 46,201.00 1.6000 48,201.00 14,460.30 33,740.70 0,4838 15,310.54 584,577.74
2050/5 4 48,201.00 41,0000 48,201.00 14,462.30 33,740.70 0.4427 14,837.11 659,514.85
2081/52 55 52,944.00 0.5600 29,648.64 8,894.59 20,734.05 0.4318 8,963.78 608,478.63
Total (To Age 58.56) 92.6 7580,210.64 406,063.19 852,147.46 606,470.63 605,476.63
2081/82 56 52,044.00 1.0000 52,044,00 15,883.20 37,060.60 0.4319 16,006.76 615,521.61
2062/53 56 82,844.00 1.0000 $2,944.00 15,883.20 37,060.80 0.4214 15,616.35 631,137.98
20858 sv 52,944.00 1.0000 52,944.00 18,883.20 37,060.80 0.4111 18,238.46 645,373.42
2084/65 8 52,944.00 1.0000 $2,944.00 15,883.20 37,080.60 0.401% 14,663.67 661,237.28
2085/86 63 $2,944.00 1.0000 62,944.00 16,683,20 37,060.80 0.3913 14,561.33 678,738.62
2056/57 60 52,844.00 1.0000 §2,944,00 15,883.20 37,060.60 0.3817 14,147.64 689,686.28
2067/66 61 62,944.00 1.0000 52,944.00 18,883.20 37,060.80 0.3724 13,802,566 703,688.69
2068/59 a2 62,644.00 1.0000 62,844.00 15,883.20 37,060.50 0.3633 13,465.93 717,154.76
2085/60 63 52,944.00 1.0000 52,844.00 18,883.20 37,060.80 0.3845 13,137.49 730,292.25
2080/61 64 52,944.00 1.0000 52,944.00 18,883.20 37,060.60 0.3458 12,817.08 743,109.32
2061/62 5 53,272.00 1.0000 83,272.00 16,981.60 37,290.40 0.3574 12,581.92 768,661.24
2082/63 a6 53,272.00 1.0000 83,272.00 15,981.60 37,290.40 0.3252 12,276.08 767,986.29
Tatal (To Age 67.00) 44.0000 1,866,846.00 689,063.20 § 1,376,582.; $ 767, 767,966.29
TOTAL LOST EARNING CAPACITY {TO AGE 65.56) $ 608,478.63

TOTAL LOST EARNING CAPACITY (TO AGE 67.00) 5__.767,966.29

 
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TABLE 2
ESTATE OF ADRIANA HALL
CALCULATION OF HUMAN CAPITAL / EARNING CAPACITY
SCENARIO 2
. Present Cumulative
Base Yoar Projected Personal Lost Value Economic Economic
Yeer = Age Income = Eraction {Income Consumption Income Factor Loss Lops
FUTURE:
2017/18 2 $ . 6.0000 § > § - § . O8788 8 6§ ~ $§ -
201aa 3 . 0.0000 . : . 0.9518 - .
2019/20 a4 36,482.00 1.0000 36,482.00 10,944.60 26,637.40 0.9286 23,714.01 23,714.01
2021722028 83,081.00 1.0000 83,081,00 15,924.30 37,156.70 0.9080 33,662.14 87,376.18
2022/23 26 63,081.00 1.0000 83,061.00 15,924.30 37,156.70 0.8839 32,841.11 90,217.26
2023/24 27 63,081.00 1.0000 63,081.00 15,824.30 37,168.70 0.8623 32,040.11 122,257.37
2024/25 28 63,081.00 1.0000 53,081.00 18,824.30 37,186.70 6.8413 31,258.64 183,616.01
2028/26 29 63,081.00 1.0000 63,061.00 18,924.30 37,158.70 0.6207 30,498.23 184,012,246
2026/27 30 53,081.00 1.0000 53,061.00 16,924.30 37,156.70 0.6007 29,762.42 213,784.66
2027/28 Mu 83,081.00 1.0060 53,081.00 15,924.30 37,186.70 0.7812 29,026.76 242,701,42
2025/28 32 83,081.00 1.0000 53,081.00 18,824.30 47,186.70 0.7621 28,318.78 271,110.20
2023/30 $3,061.00 41.0000 63,061.00 16,924.30 37,186.70 6.7436 27,828.08 298,738.29
2030/31 MM 83,081.00 1.0000 63,081.00 18,924.30 37,156.70 0.7264 26,964.23 328,692.51
203132 38 68,348.00 1.0000 68,348.00 20,504.40 47,843.60 0.7077 33,860.22 359,662.73
2032/33 38 68,348.00 1.0000 68,348.00 20,604.40 47,343.60 0.0905 33,034.36 382,587.09
203334 7 68,348.00 41,0000 68,343.00 20,604.40 47,843.60 0.6736 32,228.64 424,818.73
20045 3% 68,348.00 1.0000 68,348.00 20,604.40 47,843.60 0.6572 31,442.58 456,258.31
2035/36 39 68,348.00 14,0000 68,348.00 20,804.40 47,843.60 0.6412 30,675.69 486,933.05
2036/37 40 68,348.00 71,0000 68,345.00 20,604.40 47,843.60 0.6256 29,827.50 816,661,48
2037/38 41 68,348.00 1.0000 68,346.00 20,604.40 47,843.60 0.6103 29,197.58 646,050,06
2036/39 42 68,346.00 1.0000 68,348.00 20,504.40 47,843.60 0.8954 25,485.42 874,644.47
2039/40 43 68,346,00 1.0000 88,348. 20,604.40 47,843.60 0.5809 27,790.68 602,335.13
2040/41 a4 68,348.00 1.0000 G8,349,00 20,804.40 47,843.60 0.5667 27,112.84 629,447.57
204142 46 70,857.00 1.0000 76,367.60 21,267.10 49,669.90 0.6529 27,461.26 656,909.23
2042/43 46 70,967.00 1.0900 70,957.60 21,287.10 48,889.90 0.5394 26,791.48 683,700.71
2043/44 a7 70,867.00 41,0000 70,957.00 21,287.10 45,669.90 0.6262 26,136.03 709,833.73
2044/45 43 70,987.00 1.0000 70,857.00 21,287,10 48,669.90 6.6134 25,500.61 736,339.24
2045/46 49 70,867.00 1.0000 70,857.00 21,287.10 43,689.96 6.5008 24,876.55 760,217.79
2046147 50 70,957.00 1.0000 70,567.00 24,287.10 49,669.90 0.4887 24,271.76 784,489.55
2047148 §1 70,987.00 1.0000 70,957.00 21,287.10 45,869.90 0.4787 23,679.76 808,169.31
2048/49 52 70,887.00 1.0000 70,357.00 21,287.10 45,669.90 0.4661 23,102.21 631,271,62
2049/80 63 70,957.00 1.0000 70,957.00 21,287.10 49,669.90 0.4538 22,5268,74 853,810.26
2050/51 54 70,957.00 41.0000 70,357.00 21,287,410 45,669.90 0.4427 21,989.04 876,799.27
2061/62 BS 73,971.00 1.0000 73,971.00 22,191.30 51,778.70 0.4319 22,363.93 698,163.20
2052/63 56 73,971.00 41.0000 73,871.00 22,191.30 51,779.70 0.4214 21,618.47 919,981.66
2083/84 7 73,971.00 _ 0,8500 ae 21,869.39 51,261.90 0.4111 21,073.45 941,066.11
Total (To Ago 57.09) 33,8900 2,184,61 654,464, 527,060.70 541,086.17 $47,088.19
2060/54 &7 73,971.00 1.0000 73,971.00 22,191.30 51,779.70 0.4111 24,286.31 941,267.87
2084/85 58 73,971.00 41,0000 73,974.00 22,191.30 61,779.70 0.4014 20,767.13 962,035.12
2055/58 58 73,871.00  1,0000 73,971.00 22,191.30 61,779.70 0.3913 20,260.82 982,285.72
2056/57 60 73,871.00 1.0000 73,871.00 22,191.30 51,778.70 0.3817 19,768.45 1,002,082,18
2087/58 61 73,971.00 1.0000 73,871.00 22,191.30 81,779.70 0.3724 19,284.36 1,021 ,345.52
2058/65 62 72,871.00 1.0000 73,971.00 22,191.30 51,778.70 0.3633 16,814.00 1,040,160.62
2059/60 83 73,971.00 41,0000 73,971.00 22,191.30 81,778.70 0.3545 18,355.12 4,058,615.64
2060/61 64 73,971.00 +,0000 73,971.00 22,991.30 51,779.70 0.3468 17,907.43 1,076 423.97
2061/62 65 60,901.00 1.0000 60,801.00 18,270.30 42,630.70 0.3374 14,383.76 $,090,608.83
2062/63 66 60,801.00 4.0000 60,901.00 18,270.30 42,630.70 0.3282 14,032.94 1,104,839.76
Total (Ta Age 67,00) 43.0000 $ 2,821 (554.00 $ 646,556.20 $ 1,976,297.80 4,104,839.76 1104,839,76
TOTAL LOST EARNING CAPACITY {TO AGE $7.99) $ 941,055.11

TOTAL LOST EARNING CAPACITY (TO AGE 67.00) $£_1,104,839.76

 
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Present
Vatue
Factor

0.8756
0.9518
0.9286
0.9080
0.8839
0,8623
0.8413
0.8207
0.8007
0.7812
0.7624
0.7438
0.7284
0.7077
0.6905
0.6736
0.6872
0.6412
0.6265
0.6103
0.5954
0.5805
0.8667
0.8528
0.53394
0.6262
0.6134
0.5009
0.4887
0.4767
0.4651
0.4538
0.4427
0.4319

0.4319
0.4214
0.4111
0.4011
0.3913
0.3817
0.9724
0.3633
0.9548
0,3458
0.3374
0.3292

TABLE 3
ESTATE OF ADRIANA HALL
CALCULATION OF HUMAN CAPITAL / EARNING CAPACITY
SCENARIO 3
Base Year Projected Personal Lost
Nesr = Aga income — Eraction income Consumption Income
FUTURE:
2047/18 2 $ . o.oo00 §$ - $ * -
2018/19 23 49,630.00 1.0000 48,630.00 14,688.00 34,741,00
2019/20 a 49,630.00 = 1.0000 49,630.00 14,689.00 34,741.00
2021/22 2 48,630.00 1.0000 49,830.00 14,889.00 34,741.00
2022/23 26 49,630.00 1.0000 49,430.00 14,889.00 34,741.00
2023/28 at 49,630.00 1.0000 48,630.00 14,889.00 34,741.00
2024/25 2B 43,630.00 1.0000 49,630.00 14,689.00 34,741.00
2026/26 2 48,530.00 1.0000 48,830.00 14,888.00 4,741.00
2028/27 a” 48,630.00 1.0000 49,630.00 14,589.00 4,741.00
2027/28 i 49,630.00 1.0000 49,630.60 14,889.00 34,741.00
2028/29 32 43,630.00 1.0000 48,630.00 94,889.00 4,741.00
2023/30 x 49,630.00 1.0000 49,630.00 14,689.00 34,741.00
2030/31 34 49,630.00 1.0000 49,830.00 94,889.00 34,741.00
2031/32 36 45,630,00 1.0000 49,630.00 14,689.00 4,741.00
2032/33 3% 48,630.00 1.0000 49,630.00 14,889.00 34,741.00
234 a 49,830.00 1.0000 43,530.00 14,868,00 34,741,00
203438 38 49,630.00 1.0000 45,630.00 14,888,00 34,741.00
2035/38 39 49,630.00 1.0000 49,630,00 14,888.00 34,741.00
2036/37 40 48,630.00 1,0000 45,630.00 14,689.00 34,741.00
2037/38 a 49,630.00 1.0000 43,630.00 14,888.00 34,741.00
2038/38 42 49,630.00 1.0000 49,830.00 14,889.00 44,741.00
2038/40 & 49,630.00 1.0000 49,630.00 14,885.00 44,741.00
2040/41 “ 49,630.00 1.0000 49,630.00 14,868.00 4,744.00
204142 45 43,630.00 1.0000 49,630.00 14,868.00 44,741.00
2042/43 46 45,630.00 = 1.0000 43,630.00 14,869.00 4,741.08
204344 a7 48,630.00 7.0000 49,630.00 14,889.00 34,741.00
2044/45 4 49,630.00 7.0000 49,630.00 14,889.00 34,741.00
2046445 43 49,630.00 1.0000 49,630.00 14,889.00 34,741.00
2046/47 & 45,630.00 1.0000 49,630.00 14,889.00 34,741.00
2047148 &1 49,630.00 1.0000 49,630.00 14,389.00 34,741.00
204849 §2 49,630.00 1.0000 49,630.00 14,868.00 34,741.00
2049/50 53 40,630.00 1.0000 49,530.00 14,889.00 34,741.00
2050/51 84 43,630.00 1.0000 49,630.00 14,889,00 34,741.00
2051/82 ss 43,630.00 0.5800 27,782.80 6,337.84 19,454.96
Total (To Age 55.86) 32.5600 1,616,952.80 484,785.84 1,137,166.56
2081/82 85 49,830.00 1.0000 49,830.00 14,889.00 34,741.00
2062/63 5 49,630.00 1.0000 43,830.00 14,889.00 34,741.00
2053/54 87 49,630.00 1.0000 49,630.00 14,889,00 44,741.00
2084/55 58 49,639.00 1.0000 49,630.00 14,889.00 34,741.00
2055/56 58 49,630.00 1.0000 489,630.00 14,089.00 34,741.00
2056/57 60 49,630.00 1.0000 49,630.00 14,889.00 34,741.00
2057/68 a1 49,630.00 1.0000 49,630.00 14,869,00 44,741.00
2058/85 62 49,630.00 1.0000 43,630.00 14,889.00 34,741.00
2059/60 83 49,630.00 1.0000 49,630.00 14,889.00 44,741.00
2060/61 84 49,630.00 1.0000 43,630.00 14,889.00 34,741.00
2061/62 66 49,630.00 1.0000 49,630.00 14,869.00 34,741.00
2062/63 se 43,630.00 1.0000 48,610.00 14,685.00 34,741,00
Total (To Age 67.00) 40000 $2, 183,F2000 655,116.00 §  1,828,604.00

TOTAL LOST EARNING CAPACITY (TO AGE 55.56)

TOTAL LOST EARNING CAPACITY (TO AGE 67,00)

Cumulative
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Lous Loss
3 - §$ -
33,066.95 33,066.98
32,200.47 85,327,48
31,473.63 96,801.09
30,705.98 127,607.07
29,957.06 157,484.12
29,226.40 186,690.62
28,613.88 216,204.08
27,818.10 243,022.18
27,138.61 270,161.78
26,477.87 296,639.47
25,831.88 322,474.34
25,201.83 347,673.17
24,687,15 372,280.32
23,987.46 398,247.79
23,402.40 419,650.19
22,031.61 442,481.80
22,274.74 484,756.55
21,731.48 488,498.04
21,201.42 807,689.43
20,684.31 528,373.74
20,179.82 540,553,56
19,687.63 668,241.15
19,207 44 587,448.63
18,738.97 606,187.60
18,281.92 624,465.52
17,836.02 642,305.54
17,401.00 689,706,654
16,976.68 676,883.12
16,862.62 693,245.64
16,188.65 709,404.18
15,764.44 726,168.63
16,378.94 740,549.68
8 70 748,961.28
748,951.28 748,951.26
15,004,862 766,553,40
14,638.85 770,182.26
94,261.61 784,474.06
13,933.47 738,407.53
13,853.63 612,001.16
13,202.08 828,263.24
12,938.61 838,201.85
12,623,04 880,024.50
12,318.18 $63,140.04
12,014.79 875,164.83
41,721.74 688,876.58

11,435.85 898,312.42
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$ ___ 748,951.28

$_898,312.42

 
Case: 3:16-cv-00248-NBB-JMV Doc #: 79-4 Filed: 12/21/17 7 of 34 PagelD #: 726

TABLE 4

ESTATE OF ADRIANA HALL
SUMMARY OF ECONOMIC LOSS

SCENARIO 1: SOME COLLEGE
To Age 55.56

To Age 67.00

SCENARIO 2: COLLEGE GRADUATE

 

To Age 57.99

To Age 67.00

SCENARIO 3: AVERAGE ALL OCCUPATIONS
To Age 55.56

To Age 67.00

Net Cash Value
of Life

$ 608,478.63

$ 767,966.29

$ 941,055.11

$ 1,104,839.76

on

748,951.28

$ 898,312.42

 
Case: 3:16-cv-00248-NBB-JMV Doc #: 79-4 Filed: 12/21/17 8 of 34 PagelD #: 727

EXHIBIT 1

 
Case: 3:16-cv-00248-NBB-JMV Doc #: 79-4 Filed: 12/21/17 9 of 34 PagelID #: 728
Occupational Employment Statistics Page 1 of |

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(2) Annual wages have been cakuleted by multiplying the hourly mean wage by 2,080 hours.

13) The relative standard error (RSE) & 4 measure of the refabsity of 8 survey statistic, The smaller the retative standard esror, Che more precise the estimate.

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Data extracted on November 14, 2017

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RESOURCES

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EXHIBIT 2

 
Case: 3:16-cv-00248-NBB-JMV Doc #: 79-4 Filed: 12/21/17 11 of 34 PagelD #: 730

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT 3

 
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Journal of Forensic Economica 22(2), 2011, pp. 165-229
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The Markov Process Model of Labor Force Activity: Extended
Tables of Central Tendency, Shape, Percentile Points, and
Bootstrap Standard Errors

Gary R, Skoog, James E. Ciecka and Kurt V. Krueger*

Abstract

This paper updates the Skoog-Ciecka (2001) worklife tables, which used
1997-1998 data, and the Krueger (2005) worklife tables, which used 1998-2004
data. The present paper uses data generated by the methodology Krueger de-
vised in his 2003 PhD dissertation. We have pooled the data beginning Janu-
ary 2005 and continuing through December 2009, a period of five years, using
observations matched a year apart. Thus, we have roughly four times the data
in the first of the previous studies, and about that of the second. We chose this
period for a variety of reasons, including recency, business cycle and trend con-
siderations. The result is the most current and disaggregated set of worklife
tables, along with extended probability calculations and statistical measures
available to forensic economists.

I, Introduction

Worklife expectancy within the Markov model remains the current para-
digm employed by forensic economists to calculate time in and out of the labor
force resulting from mortality and transitions into and out of activity. Its use is
commonly dated to Smith (1982) and the Bureau of Labor Statistics Bulletin
2135, which announced the change from the conventional model; but the model
goes back much earlier. Two living states, active and inactive, are employed
and continue to be used in the worklife tables that are in most common use.

This paper updates the Skoog-Ciecka (2001a and 2001b) worklife tables,
which used 1997-1998 data, and the Krueger (2004) worklife tables, which
used 1998-2004 data. The present paper estimates probability mass functions
introduced by Skoog and Ciecka (2001a and 2002) with data generated by the
methodology in Krueger (2003). We have pooled the data beginning January
2005 and continuing through December 2009, a period of five years, using ob-
servations matched one year apart. Thus, we have roughly four times the data

 

"Gary R. Skoog, Department of Economica, DePaul University, Chieago, and Legal Econometrica,
Inc., Glenview, IL; James E. Ciecka, Department of Economics, DePaul University, Chicago; Kurt
V. Krueger, Senior Economist, John Ward Economics, Prairie Village, KS. Supplemental data ma-
terial ia available at www.JournalofForensicEconomics.com.

Authors wish to thank Edward Foster for several astute observations that improved thia paper.
Three referees provided valuable comments that enhanced readability and content. We also are
grateful to NAFE session participants at the ASSA meeting in 2011 for their comments, We thank
Nancy Eldredge for her excellent work ae Production Editor for our paper.

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Table 23
Characteristics for Initially Active Women with Some College, No Degree
WLE

Age Mean Median Mode SD sk KU 10% 268, Th 50% WLE-B SE-B
18 35.70 36.60 37.50 6.12 0.41 3.63 23.50 30.60 41.50 46.50 3569 0.28
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20 34.62 85.60 36.50 9.00 -0.39 345 2250 2860 4050 45.50 3452 0.27
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22 33.24 93.50 95.50 8,87 0.37 338 21.50 27.60 39.50 43.50 33.24 0.27
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Table 25
Characteristics for Initially Active Women with Bachelor's Degree
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Age Mean Medion Mode 8D SK KU 10% 26% TES. 90% WLE-B SE-B
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EXHIBIT 4

 
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RALPH D. SCOTT, JR., Ph.D.

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CONWAY, ARKANSAS 72034
(501) 327-5826
Professor of Economics President
Department of Economics and Business Economic and Financial
Hendrix College Consulting Group, Inc.
Conway, Arkansas 72032 Conway, Arkansas 72034

(501) 450-1306 (voice and fax)

EDUCATION

Ph.D., Tulane University School of Economics, New Orleans, Louisiana
(1983)

B.A., Hendrix College, Conway, Arkansas (1973)
Major in Economics and Business

ECONOMIC BACKGROUND
Primary Area of Interest: Macroeconomics, Monetary Theory

Field Examinations: Taken and passed in Microeconomics,
Macroeconomics, Mathematical Economics, Statistics, International
Economics, Monetary Theory and Econometrics

Dissertation Title: Rational Expectations, Aggregate Supply and Fiscal
Policy

In my dissertation, | integrated fiscal parameters into the Lucas-Rapping
theory of labor supply to obtain a theory of aggregate supply in which the
effectiveness of fiscal policy could be analyzed. In addition | developed
and estimated an empirical model for the aggregate economy
incorporating developments in expectational theory into supply and
demand side relationships to analyze the effectiveness of fiscal policy
within a broader context.

 
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TEACHING EXPERIENCE

Professor of Economics (tenured), Hendrix College, Conway, Arkansas
1979 to present

Instructor, Tulane University, New Orleans, Louisiana, Summer 1978-
Spring 1979

Instructor, St. Mary's Dominican College, New Orleans, Louisiana, Fall
1977-Summer 1978

Current Teaching Responsibilities: | teach several sections of introductory
level Microeconomics and Macroeconomics as well as upper level theory
courses in Microeconomics, Macroeconomics, Money Banking and Credit
and International Economics. | have also taught courses and directed
independent study projects in Mathematical Economics, Finance, Monetary
Theory, and Investment Analysis.

CONSULTING EXPERIENCE

Consultation in economic and financial matters is conducted through the
Economic and Financial Consulting Group, Inc., of which |am a principal.
Over the past 20 years, | have developed extensive experience in personal
injury and wrongful death lawsuits. | have been called on by defense as well
as plaintiff attorneys in this regard and have been qualified as an expert
witness in Federal, State and Local Courts in Arkansas and adjacent states.

Additional consulting expertise entails business and franchise evaluations.
My qualifications also extend to statistical and econometric analysis, as well
as financial analysis.

List of deposition and courtroom testimony, client list and professional
references available upon request.

SEMINARS AND PUBLICATIONS

Evaluation of Damages in Personal Injury Lawsuits, presented in
conjunction with the Professional Education Systems, Inc.’s seminar and
subsequent publication: How to Evaluate and Settle Personal Injury Claims
in Arkansas, November 1989.

The Role of the Economist in Personal injury Lawsuits, seminar presented
to the Pulaski County Bar Association, Little Rock, Arkansas, October 1989.

Presentation to CLE seminar on recent developments in the evaluation of
economic loss in personal injury lawsuits. Little Rock, Arkansas, April 1999.

 
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PERSONAL

Married to Robin M. Scott and father of Ralph D. Scott, Ill and Kathryn
Elise Scott.

 
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EXHIBIT 5

 
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SEO be speedy (dog) sprig Aayep

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S22 ESPERER ERASE

 

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Case: 3:16-cv-00248-NBB-JMV Doc #: 79-4 Filed: 12/21/17 26 of 34 PagelD #: 745
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dog) auecErs spin)
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(oq) seu? UopuOTy
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(dog) susrara 3 Aecur
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oma UEURE 4 (oq) Uscog ofeg
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(ed BREN ys) (eho) suppiAA Baugy
‘en tea Bead bt Teowizs Hiv ‘Aves, oes BED PRY} “Su) SUGARY ur] ajeg |A UoTUMY Ijsuuey
(dog) ag ‘kegasany ony
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{UR weap}
"Or SmMLATE TY OSZZ-4102-A9 coz HV ‘cog ours soe dar) Waning Aus |, tower afioesy
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SG SSS SER L EER EEE EE ES FHS HS ES EE ES 555 5 8 Eg

 

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(deg) exnoyprug cama

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earns poOS

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{deg) sapusaciy poss

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fdeg) esopung ousg soy

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Pung werarg (ea) xouyy spony

oasn vesmeg0oeo-7ig — PLOZWIAA tty ROY op fengej (soqhae? ABSUOD peUeY yom uET) A mYydO BU 1g eT]
{don seg “2

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"2p peeeqen fHdlzolcie-AD rlOZshw liv “osoqauoy aS eg FE) “UA RAND mousds “a Buoy Asqoy
(dog) Gupeag poy

{upes.Ng YL) OD PIseyig Sert-cioz-A009 wiOzalae dV "HOR OUT ams Geary bing “Sul BaQANS ORIN cupTy “A Wag jase)

(pocsusap) 09 usages B-Lri-Cioz-AD vinta ly ‘poomunnag onng ' naan face "Og wu] CoN Y UOHO} Cpa “A BepuNT BEY
woUn Dy

ANQ HALE = OD preepiy OHe Ze ADOS wroweny HV [Boy err owns 2) wR, 7M “ReUdroKRL opoR ‘A dang wynbREG

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quay

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(dag) axsieyy pang

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(dag) vorysey ug

“Op pdt S4P2-A09 place UV OY eran) sR (aoa epee foedooyy echonid “A larg eAarg 20 eR’) ey eAcUST
Jey Uap

OR souepuSdapAy Se O02 AD roger HV [POY on omg tog) ueerp Ap Gaeundpoyy coum seman ‘A prey Amu) AuLy DEW CUNPEND suey
srEN | UCey

"02 VepuetD iggoe-AD wiozezZe tiv ey SET ons img door “OAC NUS beady ‘a matin noog yoreG
BURK] RAT uIg6z (deg) uedy eusg

‘Op tego £ADE-W9R00-—HEZ PLOLLE Wy OY eR) oneg sUCRE YY EC TOMI) GOFeS Widry TOANYO Cima A auger “P umAnEg,

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vane WONT

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(ied) fe Wee

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"09 Uostjor 800-2102-AD WiOZaC UV ‘emneeqeT orers nog duo Foe Su “Gh sopag iy ‘a Amey pewaney
oarRueyy (dog snag peur

Auend EAPO Wick 10-30-15 wiozazs dW [poy ey oper (dog) hemoeres eat (Fm omen anmyeeH dunog Ages ‘A Hany Aoney
me

“09 xkeneay i Z102-AD yionens HV $08 BinT] ens op sourey Gamnacg Jv2 pue uypEuey dep deureung “A eye eared

BUREC IRRRINT oie 4

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WFR UT (dog) mA weg

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(tag) ecusucy Aespury

Papa en ry Vid OUC-A2 Zip rioat WV ORY en] fenpe, (dog) cone me WSN ‘A cuep ausg ona,
(dog) uoweNS BAA

OD) puopaacy d2r-2b-ADLY rionet HV POY CHIT] ems 3p] uD RORY OHH WORN) A upidig) BAEC
dog) agen, wapy

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(on) ey way

‘DD UST ERAqES, bSeh-4 102" AD clozaeeh AW POY eT] eng wea Byars “uy Neutrals peopayy Uapaury *A gay opr ES,
GTEC) micas 144 (0G) seuy wong

Pysec e pe A CUE-FLOSOAS EEO | ClO@eNzi Uv [ROY ey) (empey Basa praeg ‘exiiny Asp OUETEL) Ddd (A witicqouipey pag epopEg
ORANG OpmIOg £3 (dog) wegen pag

RuIg wa A HOS SPOLAPIEY = GHOZAL ROY eT] Fuspe ( doch to eens {0 ‘duedwo5 voxpley “A eran eae, je eFg
dog) souay equney

“BQ eq0Ug7 re TingAD ciozace: iv NOG BHT omg tdog) eee ea HH GSRg LORIN pu dade} Wheng ‘A seme pea
SOAR) pAeQ)

"O] Bay BORO OZTS ctozecan HO "esr ons eRe] Ror Tredeny apa iS put Asan "g uedy ‘A BRagaeg Apu

SAVOOGATIE — CIOTZOS OF TORRE dey jeeps Aung eT) oeasadg -a “pa ye “eqepedany
(0) ae preg

‘OD ouReg C-202-18 AID ClO) av ony or? ers EAR TY WOE WOYY GINOQ 'A LosRpEy many Aneyy
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2a MCD BYE] Sf) ¥id0-$r000-AD2¢ Sear bv [Rey aan Aaunyp we 09 “Huy OpQaUiOINY Fenny WSs ayers “A puRiOY PGT

nucpe4
‘0D cuyeg 29 ANC Sion dy Vong ang S03 sug] 0D SUNY BAROLO IY WU. 4 BRAS A BURN] UA RED
“OD EROS WOSOODTS- aE | S8ORAL big ‘Aga ems (den) py wes
WUC eTy Jueq dewpoy pus ou eoREED peUseyY Be) A oo AsuDOY
“0g Ary ce-e10z-Aa SLOCALAL by ‘Gupuny onns REPPT AA Prey (0 i 0u) (Paoppruy de yy-urg “6 jee “epang ey epODEA,
"82 PRP SOVECIO ATOR «=| SOREL iy p04 ours tea aes sere fe re uy Cao pede “A Ui) ereNbueyy
: A az
{OMG ag sir] ig wOL1090- Went SALA tiv ‘ketauog ares RequES Why “0g GPO, ZUNE Wor Due ROUTE Cor AIRC “A USHA A, RELSTY
bdeg) vosuey peusty
soma tiv ‘Anmucr a wa Aunt Rape A SERA UL
02 UOC Lara SIONSE2 IG AND euMUTEO, ons ae TAU] RUOHEPIO) | O00 EPH WOH A ASvUD OF) ep]
cia) uy 354 2
AQ uaMOg ~ oQuEfeT ASL PLOZ-ADZY  S1OUzE Hy poy on] eng worry Banc "Pee Fradsoy] deur] ogaoueog “a (owed BND jo ee) ORY BENT
‘8D buys: Piss Plate soe be uoneq ong ED da FS eGo] any “A laulleg papEny
90 Agus COND it-prapoo LD sHOZOLE 79 HOY St] ome seuop Bay SoRsRUUG | 7 ONS A YRS “Yt
(deg) efuyeg Aue
“og paoubpary Grheoiioz-aD  riazave WY [poy on aR {dog RETR) WARY we Bugs 720 4 pe 2 (uueH peany po one) werbary 7] ey
Soop) Assay
0D hdensyneryy Drtozag Siozwe try [POY ony amg ‘opoULNH Tory Oy "OUR BAbIG beat “ou “eseudtrs “Sry *« (dequNG RBA jp eR) xn Yoser
‘TO uNeEg PWLrSZ10z-AD B1Oze HY ‘oguoR@E aves; eyEye) Loqoy "Pee Sweboyy popdanty Ansoyy “A Oni OruND pW ouEG
(SHR iene gs cupy (dan) 2984 ype
“OD EDF Sper] 91-0002 ACY SZ dv “RpeHsH BRS ageeeene “OG BEOgRY Sarg Uo A yore a
dag) oj eum
OD Ue €t-<ogez- 290 gozee2 YY OpoY aur} omg ideo matuey “PSU REE UE “A deg nD epuny
Wat.
AQ) WOO AA. RAC WoyETy Wei GOS0ADE > sdonE dv Spey on faepey fog) Aner one OTOH WEAR Bt “ou) “eur, aidau4 YORAM BO A BHO] eer)
“OD MaREGS t2alitPaa SHIRAZI UY ‘onseuoday amg eon KEL AN POMEL TS 9 unTRedng pps ewoq] HO LeUry AlmUaIEY Bay fo O13 rune uy
fdeq) eurega a Ao
Og euneg SHOP AMS SlOzzA BY ®PoY enn ony wary deg [eS cau) aenpeyy “A uo pps
(ond Repo uice} ba Ma) 31-212900-19 {dog) ang gong
Tg dqgeys Oa ANG) iE-prZzroe-1D « pHOwOGet Ay Spey Bay org URUPOOR) PYAEG SIA | O OFTS A WINS “YY Bue)
foc) Apnea way,
i Ad) 99 BRT Ig PRGSTIO-TSEI rin2aaet A¥ Aur apy (dons wou SS RU) ERAS Rape] AOD way ‘A NEN DS UE A OO)
VOLE] aupeYpTy
(RC PUuZoe) “09 arog ENE 2250901 wlozecel BY oH ofan oms (tag eer “FO FO NIROH BEAN) ‘A Hoguii oT yo openTg
Jprug plan
noma Pe HON 09 mayer sopeding “A pus quay LAA
{daQ) sco, yor
"02 uDEOT Ueres0e-AD eloza et Hy ‘Aeeuo omg sete cower “2 WOH SANd) “A RU AA SEN Lome, pO eR
PUR Prenny 196 (dog) pata yer
‘og puree | Zh-¢p0e7e gan rigzaze iv ‘Aewuog sang UT edge Shop RUD “A sopURY ep]
ideg} oneag duoy
‘ep tang Bee AD Plame HW "ROY CLT aris seg Luo Re oped penepy prundiay euDpL A prod es] oD jo SEF
(deg) uosuey ena
"OE UTE yeS Olal-ct-AD wloeezis uy “denwoy ening (doy wopres day OAS A) BULYETY A Leu “ty Ydeaor
i Sune por
“02 vorbunee Serovri-ag rlograi ay ‘orpduads ens. ‘ Prtadog vcser Avec scuneou; poUUI ayy pire uatery ude A proGtingy Aus
dag) dpooyy paD
“O GUYERD ti LLOeTD widevrtti Uy ‘Awauo orig ja anes “uy (RURIPIG 10 BIOL URROH WOH A Asuupeyy enUrT
lay wu
“OD panne GEL D102-AD FierZai Hv Rey Sr] emg aay, efinep BOD MOY AC} A eC Away
(dog) uosuay4 pay
“Og puopauy Gy eee ib-AaZI FLOZALOL uv Peg aE ons ‘ogy uonres Grog Tee unending Afveug ome, -A cing pry y SUNG adoy
‘ VRAQUOY) SA
"00 Anisy ewe rine by SOY ery ens, HOM Uospagy “Duy RARER “A ERR jut
{deQ) ustigzwemg Auaiog
‘og uoAYY SOSZU-C102-AD Fiza GV "Roy en ons Bid AAUT] (28°77 Bugg qaueg * unsaor pase
Gaphuayy te xing (d9q) uopoy uasey
SERPO TRRREND IOS SO PLINO-ID FOURS AL Sawueyy enng S220 nr] Fee Annoyy “yy $07 A eqON URto) epeT
"02 URES vioeez Wy ‘voneg ents opps sewer Anhy prucueg woaxery areqarg
(400) uyomaiy, uapyerg
02 ear, SPAR OSD POZA dy ‘ogaauatey org BeOS fey AN RUN ig pu UaY young (2G) SEED PEEpENY RUNOT “IS “A BUOY OP
‘oO une 2AL-C108 AD PIOUS BY ‘sAnOpeg omg Teg] wo “Fe 8 OUuFD AA ereuery “A 9 A pus
“O} pati LLb2-TLOS-AT09 riOwea di (Poy eazy amg URN Borug “A fe Sreng prep ORE * feuding UA] Syed jo ayeeg) uONg Eebuy
(dog) degapny recy
07 LersEqES tL Ci0z-AD PINES trv ‘Apauog ams ears) WOK 20004 G20 P9 A kuaqoy deg
(doq) Aopey soyry
‘0D soppy bast oi02-AQ POZA dv oy en ORS ORYINE pEacor “Sut "aa, ucomoY "A osee 3 hoTy jo OPN eID yo ‘URUpY se qUEY TYG
Ps] were APSOOO ADI = vinta Uv "ROY OMT] reepe, ona shety {STI A BAGO BALA 7 ADO Pnty JONE AA
(deg) wu BA “Te a "redicyy
Burg wepey MAS ISSAC — H1OZED av (PoE ours usa Aeanyy cog ANS Oby “dvedwen Agense prumuuo “A euparE eg pay DUR KAR
‘og uml shenz-ra riowien 7O ARNG army ama obey (2 did ebaasaag sorey “A foamy) peDLy AA
22 2288 2 FF ER ES ES SSE 5 5 55 gS

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S282 58 2595 $55 5 Es

LSA
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HOM BCL-AT SE

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IO¥b ADP
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SdS-2S00- She

Gtrtt-Ade
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Pree? (egASCiP
HOS n0ot-ADSI1
tuvdlisr-rioz-aa

eilztei-Od
ESC AD bE

6P-6s6 10719
C02 TeSOICi

BLircs-Aao9

WSS GROG A> ELC

LiCl ADS
Perea
sAarET

Styler ap
OTP AD

S600-60-AD5C

F-89E-PIOZ-AD
Suumey efoqaig

*L-w102-0D
FEb-PL-ADCE

SO91-FI-AD
avira
200000 Bort
WAT 18AIES
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bes rle-AD
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SOOD0AS- ANTS
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226i C107 AS
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SOC

Slog

SUBEIL
aoZte2

wOwee
sloweae
SORE
Sinead

Sibeae

sas
Sloe

slOeza
S285

Ton
SlOctaae

 

“Tae “Super pibrey} “4 fuasuuar acuepy eo jo ORNED) URANO” 4 oH]
ae Good 5s asywert “A (uaRERO] UORY iP 9re199) UosEnyDy oeesy

SN WO4 sey org
Amy ruc syed ago

FS fa “uct pays wR AA “A uomG UA;OIR-)

ROY 41M 0 Aig a ecg our)

Ta Amhuey pear ad WORE] A SyeAA EU
TRO UaNg GsuaY pu Aq “ae “4 JOUTeYY pRRUOLS

feuo, Gude) ued) a aypeds Wud] wpunuty
‘Te “09 Agenerg jeuauTT) “A UNEP eReUg jf sar

RUNAG RTH URWOSLY PUR "Cy LOREM Urgy ’A Any bap pua Any epating
ee Se) SOT Bere 8 TO NY ery

eB haan urpiry °4 poo jy mado

(he manny (yews 4 (aug sug Aor 2 vArea) Mar Amey
“FP IH UMOd ' (sopmery -reperug WAeyY fo ame aisreny THEE
Sunny serie, a neg See

CWA BING? |A buserD A Te Soy Dey

“Bee Grea} SRS “A TagUTg LNT JO ep

99 Agena] pueNuES ‘A MopEr aus © oErEy

RR ou) eons penustivpry penuTD “A Asytingy pee
doedur) Maonuy expr “4 dana were

Dupri, Yoga pue seqoM dager A SUR EASY
SOARS DORN A Mor] SUYIED

“a1 fan, WineceurH poe mason domed “A su BUN
FF 0 Ou) (HUE U) eZrmEIpS «A sur AA bed UOWepLy 2 spr

"Fea Sewnpng Ary 1g 'A Tee ueuueog Epazwy

Shy ‘easpAreg Congr puss Bung “A macy Amp
sapere «A expt

RO uy Canc Vay Tey A temeg opm peYy

OT endows y "4 pruey yee
Fee ary oud °A prom] a gUuOE peers

“AA ‘oud 'Y ap °s penppung eamagiong

Q eMep] Fm ebuopSRUOT Ammo 7 REOR A SLUR AA SOP
‘FP "pnoasTyy PO SUWTIYy 4 pe Oey Sug

“RB ot aT Rabo sya TY oy auny oAEOYy
Ausiuog dascorg emproog ‘a depp enor,

“0 i np] BLES “A But, efeQ LORepUy yO ep
3087 ry ABornayre) s08 MIE SOS 4 dW EQ

TRUS Yeo} Umrieey pu ‘GW thding susgiyy ‘4 12 “Menor Selig

 

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suai Jeplug pow seyspony pue BEET “A peng Py UY jp ORY
a esr Fendeg “a Lngenyy Woos eA jo URTUEND) egssyeY JO YUE
£29 FSF ERP REEE SE

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<2 S88 52 8 FSS ES 3 5 $ $5 5 KE GS GEE

 

0g wang yd ibi-giozto gloztiae Uv was Hoy oms panes only AN POS MeO A iS WAR,
Edeg) pesog wan
‘oD UETSeqES to-#hOz AD BIOZSZAN UW [Roy eur] ops 3O0D FH Fe YAY) OUI A fouty URED HEN JO ORT
(al any Agu
(og UaTEEqES Bra-SiNg AD DIOZBZAS ti “Keay ams our] uery WHS boy jeminy OMT
(deg) Aanasteny Age,
“02 woe STSESIOZAD Sibert HY “ROY any] aes (dog enya “SU “WEUORS DEAL “A RapIRALL syETy
P deg) aug ydesor
10D any oR b-rO-C1O2-AD Boe Uv [Sey ony ons eee PaCS Su “horn paKueteusry epsrAA SLM my) 6 LORE Gy peT
“0D BHM FZ OR0ZAD BIOLBES uy ‘Auras omg nung day BUIARQ nom pue secuanrg Afiouy Uoposay “A uj ‘eRe ON
uy (eg) weumeeD pry
RG pe UBZ HAG roi S1OZee8 HV SPO ain] ems JSpLITY WH ROT DRaapoY y mameqay -A enue dary moytnny
LCRA] LARS AA (dog sous) Aespupy
BV Ps wee FISRSPOOT ADIL = BhOzria iW eOY eT fuspe aD fe WENA Gay page
11 ag usoysa ay HDCHS OSD ASrk Ss GIOZHED Wi podesays jepe4 een Fo 89 ‘euIOD Ayeeds Ueyy Aye ww Gun, ") Mons,
0g JHA “OT
“02 pesydmng tizerioean = piozone Yv OROY et] os cae nana us uy ‘ouncReUOP pO Beg By pure see, hag A uedboogy woe
RaueD oye
“OE uapun gee AA, o-4P0}-G1A3 BIGZELS dy ‘demuay omntS (doqyoan ea 8 ‘herng Waray piney 'A uRIEY eae] © oprey
" Way Red)
“ea UaHRE $010090-1921 slozone iy ‘Azewog omg toy er ed SUOUAS TEU] pin guCuRg UOr A preCGTY YEIOGSG
i deye4 ey
“Dy Feary GN BS0-St0E AD 9)0e524 fy (Rey eFNT] aang fog) ‘ea Brasry FR (0D Feuc eu) suo Bend “A UjeOR USO s sou jo opr]
au WUD
“8g sunog Cesese alsa plogsaa ty ‘Aen eats weds way SIUOWeR URRY 6wOH Aaveyy pure UoSLET “yy GuUNEDY “4 BipOY (4 SEED
UOT) WIPO A ideg oH ep)
Uv 2 Bisa Wape3 WreBAasy SLOwLAa bev “Aeauor) Fuepey ‘ ogee mn ‘782 2g Abepey wpads sedeey ‘A Hany
‘choy mungy sayy
OY pueye Libra S10tAD HOTee fay [Poy emir] omns QA EP ‘GW ROA Usuuey “a buna poog weweT jo ep
deg) anpny umueD
‘oD sappy FES ADCS SOTA iv (eu GHUTT ort Piers Uy ON beewig Be Rauny ppEes “A pO UEpEL Ys
“oD PASI A2rC-01-AD09 SLOz rie tty SRY 9uT) sens fags eet cusp FON eopeery ypySpas, ‘A swWO, play pO oprEZ,
ARUN pes
1 RING “07 eusait SOOO 151 HOzwrey Hy ‘Aemuny sang Béerp sypueuy Buna, “9 SHORTA A BqQOIS pag yor
deg) siog ucpeery
“OD pret BOS -42-AI09 gue UY POH 97uN sans ‘GuEDy BUDE ‘RB a eD epiyy APR FUsCUA 1S A DeUOYy URCUS
CRAY CL 50 reed] Usoe} ChLAazg ez Star XE wey fawpeg Jagr per "dha eERRAnT RuEg “A OUT 8-H 9 BUSY TORN OY WOAH ORY
Idan) yeequuc] preyay
“a Repy OOK ATO SOLS 70S Ooms our] ery “FE US YTD A NOE puny 9D eS
deg) gover Aespuy]
BON2ZDAD eR = -BIOZES ay OY ETT reepey sedpoH prasg VSIA 8 Fe 1g “Gaaaweg Anay sowey mo ape on A ORiEERUPY “Ac oouSTY
09 echo SBE-ZIOE-Ag aoe BV [ROY wr] ams io wor “3B Re? Rape) jeucdey wun} *A pang or] GUD jo URNS
(umodeg) epsey oupeynty
“Og Buuty $etocas sesh DIOL av ORSu eT ORS auyop doy “fe 8 ReRY OD *A (inGenyy wotmgyy 30; deuloU pO weno wo} Unfengy cuny
GORA) wadeseneg {deg} eqeiyy spureregy
V1 Repay) wap, HDS PSCoo- ADI 5S slOzazyy iv ORGY en] fae doy WRUAURI) pays) "fee athuEoD Ayenads uy “4 “fe we unos “1 Moasy,
f mule Ay Boy
SY Rag SON WES NT ECOG Aa rEC 910ZG We Shay faepe4 Ea hope ny “Fe peg tyeg A Aang eprbag:
180 pst S1029"8 Ye SOY ensTT ares seteroa woke oom Oat WL kee “Ty REPS JOH We IsO A, "A “Ul WELIOE RUN BUY eprsoAny
pag) ane EI
‘02 Mange 4D Zh AES SIZAS dv ‘Agewory BINS 7g wayy “(Te Batley sey RUOKSY A DoEWERA "y UesyE
{dog} Buumong uoser
"02 dase (dueseD102-AD = gn ti ‘Asay ams (aq) 1g poe Fee "OURS OniinPey JoARy TeeID “A COSUDEY Enuony jaduy go enn,
dag) sayy wengey
‘OD payee) 1OSPSPADLE s0zer tty “Aeuog, ang tagenee RRO op epey Sop a peas Ung yo eprAy
VED GHA
“OD sonyre barge-ance ooze fv 280y eyETT es soylny Buecy “fh "Phang seyinog sewer (A uuND Hy eoRUCTy
OD uray B2zHOE-AD g10ZGhat diy ‘Aeeuog omg 500g OUR] SR) smupuy “aC A edd Asay
{doq) woes uery
“8D Prapiy Bert ADos ates ‘dv OH GIT) ams Sees Gude} ROA mnpsey ppepary a NUL PoIRy — ONPTZ
ORE AY lobar] ors uceniive 3 couzey 5 I Ope + Uesnoep ue
SAK AUS TES AA (dag) vou) pen
prey] waar WSEAS OIE He (oy ur] (aepey (dog) Uaogy Be] DARN Bataoyy plist “ay Reouurey aunty) “A tips“ wpavoy, yO apres
dag) sey mer y
O3 sao BL6-¢3-ADCE mono Uy SRoy etary eis tne] Use 'R&UBAS LoD} fouodey AmsueD ‘A Aaxogo}y uOMer}
"GD Prep ig S02 dv ey ere ag UNG Ty LOUD LER AR,
“op ssdsep iM 2ozOoO-OWr: = atDZEZe On uate aS \ weer se8oy Suepds Urey UEWeely YON UOReM UeHy “A Aby wor pum Anny eRALA
‘CaO! ZyAcySy uEog
“OD PRREFIg jaar MAloS aboot HY Weer Gm errs {grea wor 1a fa “uy “eequedsoT duoyy digi ‘a dopey ceuey pue muy CUE TA
(dq) amore ned NH reg
"on peayfyary (ial seEo-Rez-AD = gLOzE Uy 2ROY ET ants

sy my TE ON noni (9 peta “A (gary Luo) INpRy ALES
‘fdeq) etuges Auar
S285 $F FSS 485 FF 25 x gs

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#32 3 2 ¢

SSS 85S FERRE ZY

 

“OD eyoUay 20 ibe ADCY LIOZARIL fay Soy efar]

 

coms GEN FRG ‘70 8 “Enos fT UR AA A MAUS issu oy

(NG pug) ‘05 eugeg @20rrl- Agate LIOZBML tiv ‘uct apg idea} et on W “eyag “A UYyST A Bua wove io easy ap SL ORURRUEY FINE) Bay ApuOUREAT)
dori) Aare. s pane

PHI WoquoN AHEARD HATO) | Linger, RO toy fenpes ' oe sae Be) acu Uy YunZ ‘A UENeOeyy ORY Away
JpecUeH egne

tag wa) 09 peeing €S80-1i-A009 AbObaL u¥ {POY ony eps brn ry aay “OA wiroert g UCSD “A UEpngey Lely jo ORNS,
sROO My BaORY

"OD unpquEy OaQ0OI2 HVOL L0zee OF ‘preuSupds emis tg) Os) LY auors. Ox “Uy MA SOpOYY UCT}
RAMI OOS

00 utiusyee 74, SSBCESIOTAD Lu0ze2e tv “Apauog, ons Aap ey Rae ‘Wapang ane A {uosE yA Op BaN 10 oNNS3) eYAZG ou EG
ORANG CuogrsUne (dag) seuor cue

Sestiapy fo Fup] LAESy Wiggi ogee lidzze HV oY eT jeeps eng BAL) Bonga sys q Uomp, “a Any pry

uw S0DL-4000-a6-10 210205 21 “Seat Hv (oa TU "BA GueMAOLy A PeOIeEDE YY put Ubeeg Wanos
4 SID BA

"0g Bdly veS-5202-A995 LOL uy ‘dzsury bys Wood Opes) une oeTe “W Wor ere} “2y) “o> peut y aL pmnpEEUC “A ( SBURNLY Ay “yy

‘0c Mopuminey 6er-gtoe-Aa lazat uv Wola owe HORA UoapeRy DUT "vor yodaus | ucreUI Pry “4 inooT Aum

‘TNO 99 uoBungamy, B1PO-G1AD LORI ty eqpeiale owe tooo iebou WON ‘Aaomg *A Uy
meg OF

‘ca pean 2c 1 102-A900 Longe HY CY SBT] ems (co) pee eae "Re Uy Foy eT P doquing suse AUS FOE po epg

Pune

(ng G21) 02 prsug Sye-St-AgoD LOPS HY [ROE ORT] any ee aeN srs ‘Te "Aogang epucyy “4 “ay eo KAEpOL
Annqatagy uns

Oe Ueypracyes; S-H600-G102-AD 2102845 8A “Opmeg ons dog) ta beeen URES Bary a UoRng asdTy punt uote 4 ley
Ti BOSLILOT piAwr

“Oy aaa gl -igoge- 290 LOLA tig “Ansan omg ‘VarpedgN] oor Re Fey BRS ddeuy a sum ye
(deg) Bano, Avequiny

"02 aouspumdopay Wese-siozAazc = LlowES Uv ‘Asaues emg uc pied “SAY “Sp004 Goo “A SeRIEAIED OMeUg cor
sthoy voy may yee (eq) eNsyy ‘> Kan

Brmg pane wad 0°NQ 198’ bcp dbozome Uy Ug poy ams eppouley ing “P82 AA LTO “A BiOoyy “ym

‘o) Ey fieteAgce dozer Hy ‘Apeue erg teed uovey 7 2 ‘ues yee untey dewey "a Amacgoy uopeey
{oq} Meare), peapay

(90 121) 05 prog 2665-S1-AD09 LORE HY [ROY San erg WrOnegy AO BE YS taeuRei py BOD ROg ‘A HEARED BOOS WEY,

22 amneg C-9S2-4t-A750 diate iv ‘vorneH onns Wards wor PRIAUOIURE UNS ello AUiy pid UosLATD "yy euLmIOY “A affpcHy AA SEU
ORR AKY Yaris WOLy deg} yoopweg Amary

SeSUETY (0 TOU] Wueyeo 4 SAZ-ATOLE Lidge Uy “aus oy puepe4 {deg) BSA Pid Supp, se pus Aor A sary eyARI)
‘Gay stugey Sha ny

&> eusany BONO Est ede Hv "Roy eur] eas SBpog Yuoqoy ‘Wes Saag Auer “a uoseg -Y Aenary
Suduey iF RUBRC por lac, (deg) sedoog wrens

"00 deus 00-511.200-15 e022 uv “Assueg arg (deg) eee OW CRN Fou “4 (unsdggug oe] po ape) setoo] wy
'daq) eng wopuBY

(ag pug) ‘95 ougeg err Ade LtOwab U¥ (HOW on] onns (dog) wey Avery Wee OR ROTA RURAL Uoileg (0 BEA 64) KI someRMUpY Feu, wuLY AjuteAUOT
Wermund 11D

“oD puQEK) blagter-AD A020 HY [hey er] Bens ar] UeTy Ve fe “usdig LOR “A (yauopy uty Agger po We) Angaoy Apart pur sunt) Apayy

aD Ren) BNP OSTS fae 40 “SL ons LaRAS DAY ee wudy a buanoury 9 pany

fot “Ad og snot tg V2SCOIF TEES 2b008T On SNOT 1S owns {doa Bou GAD “(0 fe Say eg e pods pogpeyy Amon prey’ é UURULIN "9 WeReA, jo ODES
Cowper EGA

uivy SOC OOO-Gito | Liaw Pou Pur] uve IAD PLAC) “SUB GAnuanLy “A pegeLneyy pus Uleeg unos
(dag) sapnueyery pages

PUR URHes3 SAP 1i0-G1-AID ioaL uv ‘few Teepe coon apy for 18 i Gwoyry jo eeoy A SYR GOS, ag peppy
3 BUR] RUT

(eyed nn) (03 Aq@us, ei orcrar 19 cio AL eauy ons tage BF Ry OEY (A Oley Log
dag) Gunp peg

(40 war uaa) “02 pee Sit-St-AI08 EbOULAL BV Roy en] omg ' ‘Spey poqay 9B aug perl Anna) me, 1g A qe Gaus) wepcog WiyoRry
(den) quod Auouity

“oD PrEuOCENY MOBOIZOADOMNYL = 2102272 Uy ‘Anau omg dea) foehee TS P Sere ppAlig Asuedveury Among “a (pay rey) spremprg aany
u 14 or

20 voMpeyy T20-0t-Adey Lionaee dv ‘Aemung ons SO IPg Sate PRO A RUN, “TARA
(den) uorsry uappius

Dun wep RLU ADGER Le be “agar (e303 srdung sun uy EpOOg Coty “A BAO] BURRS

9196-S000-S1-10 # HERD WHY ZLOZAYZ Xi tera BuDTeyY URC] seugenpu Aouusy “A sueupry woe)
(den) pbueg Avspng

“Og Usp ori-siaz-Ane) 2028/4 VY OH e{NT? oms (dog) Cyapary oy (PR SU ROH OTT 1 RSIS Lor sesungy “A OgEDLY BOND 19 CRG
Speen’ gq

09 Bdaary OOSE-PLADLE LIDAR tiw ‘Awmucry oes PerpoR prt “Rp 'donee3 Auasy a Tepusu umbeor
(aq sovenry Aoopuy)

HW Ping weneg AdOe-AT SEE Wy [Rey eu renpe, weqduiD 0214 oes SaitTS Pemun “A weqduRe) Bor Agg JO were

WW Pingo Weng {LEO ADEE dont HY RAY CRITE faapey tng nna ulBy ORNS A RUS
sos FD

®2 upour] 06i-S10zTD LiQta Hy ‘Apgauoy ems uanR AL HSOey “fe fg play A teeubery Suneg] Runger Paewey
PHS Wee pos (deg) womapr ug

"OD reRges 216-ShAD PLOTHU Uv ‘Away ans rey pez RB VA Ug bos A ug eu,
(deq) mepueg vopuaay

"OD ua SZBOCIO- LKGt SOPs Hv ‘Aemuog ems hans ury (0g Aiding e603 put sre sury ‘A gomase> iquafung
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622 2 2 89 & 395

 

Patt SOFC 4bADar Lbo2S Hy euro)

aor FOLD pH "Fe 2 “uopepodseg esaubry pumps “a pune] 7y ua

eUNOS) OF OIC WaPo sa 08t-A>9i'0 LUNAS OW ‘peiduaxig feces ews BN VOTED 251ue2) ajar) “a dopa) “y Gua

“QUES Li-vio2 AD LiOzS 08 UW UMUg poy omg (ogy OOD Fer ‘Re Whey Pell (ou EEYD Mag pO OEZ) URAL WeNg
SELy PUR

‘o) SEW ZOOL SUAS dbOzn a BV Poy on ears LAD Djanr) Fe 8 ‘uarundion eaoudry pempe °A popu] y Lang,

Gop Wayy (deg) urrequg Aouwoy Aucune) poOUPeY

SAP DUmQ ueypOS dN Ss2aens 2 LODE Uv Wey ene Roepeg Mente eure EmuInog Berg sUNaCETy SU) ‘A (omy AoSory jo 8fsa) B20} YNLARY| pun Auip sxonbeys

“AQ UL OD prseyig $89-2102-ADo9 Linas HV oy equry ens Uosndiej sowor Areciurd PORE SURag UOU) A MOPS SHUG)

“MOU OD pst POGI-1-AD09 enue HY 90H OTT] eps semen Aa 78 te “vouop ping A uoReUyCY Hay
(deg! opgeg ana

09 seye B4rr24t-00 0258 XL “seyeg omg (dog nS Siqcdepr3 wig BpUED BAD CARY ERUND'A GOTO 29
eg) oun wy

‘AKT Ud b “OD proeyte 589-2402-A509 dhiozane WW [Bey eTurT eR (eo hanes AfeGUIOD PENARTH TLR, UCIT] “A RiOpURS BEWOUL
dan) Loup ery

‘MO WS “OD praAny 50e-9t-ag09 d020c8 dv Rou Sur ems (deg ee SNELL 8p ‘dio iefummeg peagany (UY ‘A Unk] LeRTET AR
a) cacagy ad g

‘MOU “02 pera S80r-1l-ADS 02a tte [82y oe BANS 00D 1H ON eeasng Wer) pus (Q:y) Sauer separ a EIT] LoS

"09 Yedoniag ersiva E0028 +O ‘ABEES ems Rous Aamy Wo} Lone? aiyjor A ABeg opeypyy cpus
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EXHIBIT 6

 
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RALPH SCOTT FEE SCHEDULE

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